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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 :
                                          :
v.                                        :       21-cr-00175 (TJK)
                                          :
ETHAN NORDEAN, ET AL.                     :       AUGUST 17, 2023

                     SENTENCING MEMORANDUM IN SUPPORT
                      OF JOSEPH BIGGS AND ZACHARY REHL

       Defendants Biggs and Rehl submit a joint sentencing memorandum despite

asserting different positions as to the appropriate sentence in this case. They do so to

avoid unnecessary duplication of pleadings. They have been granted permission to be

represented by the same counsel at sentencing after the Court engaged in a colloquy

with counsel and the defendants about the potential for a conflict. Both defendants waived

any potential conflicts. Counsel, mindful of his duty of loyalty to both clients, does not

believe there is a conflict, and that the filing of a joint sentencing memorandum is

appropriate.1

       However disappointed Mssrs. Biggs and Rehl may be by the verdict in their cases,

and whatever prospects and hopes they may have for an appeal, they accept the

necessity of addressing an appropriate sentence given the counts of conviction. They

concede at the outset that they violated the law, even not all of the crimes charged herein.

They ask, nonetheless, for a non-guidelines sentence well below the estimate provided

in the PSR, to which they have filed, under seal, their objections; and they ask for a

sentence far below the sentencing recommendation the Government is expected to



1 At the time this memorandum was drafted, the undersigned did not have the final version

of the PSR. Any citations to paragraphs herein refer to the draft PSR submitted to counsel
for review.

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make. The defendants are not terrorists. Whatever excesses of zeal they demonstrated

on January 6, 2021, and no matter how grave the potential interference with the orderly

transfer of power due to the events of that day, a decade or more behind bars is an

excessive punishment. The fact is that the counting of Electoral votes was delayed for

several hours but our institutions proved equal to the task of responding to the tumult of

that day, tumult fostered, in no small measure, by the prospect of then-President Donald

Trump insisting that the election of 2020 had been stolen from him, and, by extension,

the American people, an act which, if true, would dwarf by many orders of magnitude the

hours-long delay in tabulating votes on January 6, 2021. Neither Mr. Rehl nor Mr. Biggs

recites the role of President Trump as justification for their actions, but, certainly believing

the commander in chief and heeding his call should yield some measure of mitigation.2

    I.      The Guidelines

         The United States Sentencing Guidelines are no longer mandatory, they are

advisory in nature, and the Court must consider them in imposing a sentence. United

States v. Booker, 543 U.S. 2220, 245-246 (2005.) The sentencing Court is required to

consider the guidelines range, and then consider the factors laid out in I8 United States

Code Section 3553(a). It is the Court’s responsibility to impose a sentence sufficient, but

not greater than necessary to accomplish the goals of Section 3553(a). Rita v. United

States, 551 U.S. 338, 347 (2007).




2
 Another jury on another day will decide whether the President acted with knowledge that
these claims were false, whether, in effect, he played the American public and his
supporters for fools in a venal effort to retain the power and the office of the presidency
at all costs.

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   II.       Sentencing Factors

   Section 3553(a) requires consideration of the following factors:

          ◼ The nature and circumstances of the offense and the history and characteristics
            of the defendant (subsection (a)(1));

          ◼ The need for the sentence to reflect the seriousness of the offense, promote
            respect for the law and to provide just punishment (subsection (a)(2)(A));

          ◼ The need for adequate deterrence to criminal conduct (subsection(a)(2)(B));

          ◼ The need to protect the public from further crimes by the defendant (subsection
            (a)(2)(C));

          ◼ The effort to assure rehabilitation of the defendant by such services as the
            Bureau of Prisons may provide (subsection (a)(2)(D)).

   III.      The Verdict

          Each defendant was charged tried on a nine-count indictment. The verdicts as

regards Mr. Biggs and Mr. Rehl were identical. Each man was convicted of six of the nine

counts, and acquitted of one counts. The jury could not reach a verdict on two counts,

and those counts were dismissed.

             a. Counts of Conviction

          Each defendant was convicted of the following crimes:

          Count One, seditious conspiracy, in violation of 18 U.S.C. Section 2384;

          Count Two, conspiracy to obstruct an official proceeding, in violation of 18 U.S.C.

Section 1512(k);

          Count Three, obstruction of an official proceeding and aiding and abetting, in

violation of 18 U.S.C. Sections 1512(c)(2) and 2;




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         Count Four, conspiracy to prevent an officer from discharging duties, in violation of

18 U.S.C. Section 372;

         Count Five, obstructing officers during a civil disorder and aiding and abetting, 18

U.S.C. Sections 231(a)(3) and 2;

         Count Six, destruction of government property of value over $1000 (fence), in

violation of 18 U.S.C Sections 1361 and 2.

            b. Acquittals

         Each defendant was acquitted of the following count:

         Count Nine, assaulting, resisting, or impeding certain officers, in violation of 18

U.S.C. Section 111(a).

            c. The Dismissed Counts

         The jury could not reach a unanimous verdict as to each of the following two

counts, and those counts were dismissed:

         Counts Seven, destruction of government property and aiding abetting, in violation

of U.S.C. Sections 1362 and 2,

         Count Eight, assaulting, resisting. Or impeding certain officers, in violation of 18

U.S.C. Section 111(a).

   IV.      The PSR Recommendations

         A. Mr Biggs

   The initial PSR submitted by the probation officer calculated a Guidelines range of

135 to 168 months for Mr. Biggs, based on a total offense level of 33 (Biggs PSR, para.

129) and a criminal history range of I (Biggs PSR, para. 132). The probation officer noted

that Mr. Biggs appears to be unable to pay a fine. (Biggs, para. 177). Mr. Biggs filed under




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seal objections to the PSR contending that 13 points of enhancements to the base offense

level of 14 were inappropriate as they were based on factors relating to interference with

the administration of justice (Biggs PSR, paras. 120, 121 and 122); in the instant case,

the offense conduct pertains to an official proceeding, and not to the administration of

justice. Mr. Biggs also objected to the two-point enhancement for obstruction arising from

his giving misleading statements to FBI agents in the initial stages of the investigation on

the grounds that the statements were immaterial. Mr. Biggs contacted the Government

himself to correct one misstatement, and, generally, that the enhancement overstated the

seriousness of the offense. Mr. Biggs does not contest the four-point leadership

enhancement in the PSR. (Biggs PSR, para. 124) According to Mr. Biggs, an appropriate

offense level is therefore 18. According to the Guidelines Table, that corresponds to a

sentence of 27 to 33 months.

       B. Mr. Rehl

   The initial PSR submitted for Mr. Rehl calculated a Guidelines range of 121 to 151

months, based on a total offense level of 32 and a criminal history of one. (Rehl PSR,

Para 183). The probation officer noted that Mr. Rehl is unable to pay a fine. (Rehl PSR,

para. 178). Mr. Rehl also objected to 13 points of enhancements as related to offenses

interfering with the administration of justice as improper, contending, as did Mr. Biggs,

that the instant offenses interfered with an official proceeding, and did not impair the

administration of justice. (Rehl PSR, paras. 117, 118 and 119). Mr. Rehl suggested that

the two-point enhancement for obstruction based on his trial testimony denying assault

on a police officer and his comment to other members of the Proud Boys about “nuking”

communications after the arrest of Mr. Tarrio on January 4, overstated the seriousness of




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the conduct. (Rehl PSR, para. 122) Mr. Rehl does not challenge the three-point role

enhancement for having a “managerial” role in the events of January 6, 2021. (Rehl PSR,

para. 3) If the Court agreed with Mr. Rehl’s objections, his total offense level would be

reduced from a level 32 to a level 17, which corresponds to a period of incarceration of

24 to 30 months. If the Court were to reject his claims as to the obstruction enhancement,

but accept his other objections, the total offense level would be 19, corresponding to 30

to 37 months imprisonment.

        Mr. Biggs has been incarcerated since April 20, 2021. Mrl. Rehl has been

incarcerated since March 17, 2021. Application of the Guidelines calculations proposed

by the defendants would likely result in their release at or about the time sentence is

imposed. Upon information and belief, the Government will seek a sentence of 20 years

or more for each defendant.

        Mssrs. Rehl and Biggs ask for a non-Guidelines sentence on two grounds: first,

such a reading the Guidelines overstates the seriousness of the offense; and, second,

such a reading of the Guidelines would yield unwarranted disparities in sentencing of

similarly situated defendants, to wit, Mssrs. Rhodes and Meggs in the Oath Keepers case.

   V.      Defendants’ Characteristics

           A. Mr. Biggs

              Military History

        Mr. Biggs was medically discharged from the United States Army on February 14,

2013 after more than eight years of service. He is the recipient of numerous military

honors for his active service, including a Purple Heart, resulting from a traumatic brain

injury in Iraq, multiple good conduct medals, a combat action badge and a special citation




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from former President Barack Obama for work done on prevention of sexual abuse in the

military. He also was a member of a unit cited for commendable service by former

President George W. Bush. (Biggs PSR, paras. 149, 163).

       Upon his discharge from the military, he received a disability pension as a result of

his medical discharge. (Biggs PSR, para. 163) That pension was terminated incident to

his arrest for the instant offenses.

              Education/Employment

       Mr. Biggs earned a GED and has attended community college without earning a

degree. He studied communications and worked from 2014 to 2017 as a correspondent

for Infowars in Austin, Texas, leaving that employment to spend time caring for his mother

who, at the time, was seriously ill. (Biggs PSR, para. 154) At one point he possessed an

emergency medical technician, but he permitted that to lapse prior to his arrest. (Biggs,

PSR, para. 159) It is unclear whether the felony convictions in this case will be a bar to

recertification. He has also worked intermittently as a security consultant. (Biggs PSR,

para. 164) In 2018, he earned nominal income on a podcast focused on veterans related

issues. (Biggs PSR, para. 166)

              Family Man

       Mr. Biggs is separated from his wife but passionately engaged in the life of their

daughter, who is in the first grade. (Biggs PST, para. 147) He remains committed to his

mother’s welfare. He hopes to return to his home in Ormond Beach in Florida upon his

release. (Biggs PSR, para. 148)




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       Medical/Mental Health History

       Mr. Biggs struggled with post-traumatic stress (PTSD) after his head injury in Iraq

and subsequent to his discharge from the military. He was intermittently suicidal but

reports that he has overcome PTSD and depression in the years since his return to civilian

society. He is in good health today. (Biggs PSR, 149, 153-4)

       Limited Employment Prospects

       It is not obvious how Mr. Biggs will support himself or his daughter after his release

from custody. He contends that a lengthy period of incarceration reduces the likelihood of

a meaningful relationship with the most important person in his life – his daughter. And

that the longer he remains incarcerated, the more difficult it will be for him to reintegrate

into society.

           B. Mr. Rehl

        Military History

       Mr. Rehl served in the United States Marine Corps from late 2009 until May 30,

2012, when he was medically discharged with a 100-percent service-related disability.

While a Marine, he received a Navy Commendation and a Good Conduct medal, as well

as a meritorious promotion. He received a disability pension until the time of his arrest,

when pension benefits were revoked. (Rehl PSR, paras. 161, 167)

       Education/Employment

       Mr. Rehl enjoys the benefit of a good education, an education he earned by pulling

himself up from own bootstraps. Despite significant hardship as a young man, he entered

the Marines, and, upon leaving the Marine Corps, earned undergraduate and graduate

degrees at Temple University. He has at various points by licensed to sell insurance




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products and to offer advice as a financial planner. Whether his conviction here will imperil

his ability to regain those licenses upon release from prison is an open question. Mr. Rehl

has the benefit of being a long-standing, much-loved, and well-respected member of his

community, as will be evident to the Court upon inspection of more than a dozen

testimonial letters he will present to the Court and the Government on the day of

sentencing.

       Medical/Mental Health and Substance Abuse History

       Mr. Rehl was discharged from military with a 100-percent service-related disability

due to injuries to his back and right shoulder. He received treatment and through the

Veterans Administration while free. (Rehl PSR, para. 150) He has a family history of

depression and has sought treatment himself. (Rehl PSR, para. 152) His history with

substance abuse was significant enough to lead the PSR author to recommend

placement while incarcerated in a Residential Drug Abuse Program (RDAP). (Rehl PSR,

paras. 153-156, 196). Mr. Rehl requests assignment to RDAP.

       Family

       Mr. Rehl is married, and the couple have a two-year-old daughter; given his

incarceration, the defendant has been kept from such simple and sustaining pleasures as

watching his daughter take her first steps, putting her to bed, or helping her to explore the

everyday contours of the world. (Rehl PSR, para. 141.) He is acutely aware of all that he,

and his daughter, are missing as a result, and worries this his absence from her life on a

day-to-day basis will have a profound effect on her growth the development. His marriage

is strong and stable. Indeed, during the pendency of these proceedings, Mr. Rehl and his




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wife worked to assure that Mr. Rehl was current on child-support obligations to an 18-

year-old daughter from a prior relationship.

   VI.      Offense Characteristics

   A. Elements of the Offense Conduct Common to Both Mr. Biggs and Mr. Rehl

                1. The Offense Conduct in This Case Related to Obstructing an
                   Official Proceeding and Not to an Offense Against the
                   Administration of Justice

         Both Mssrs. And Rehl tendered objections to their draft PSRs calls for a 13-point

enhancement related to obstructing the administration of justice under USSG 2J1.2. At

the time of the drafting of this memorandum, it is not clear whether the final PSR will

reflect that recommendation. The defendants renew their objection in this

memorandum.

         The recommendation calls for 13-points of enhancements for three offense

characteristics arising under USSG Section 2J1.2. The defendants raises two

objections: first, none of the offense conduct pertains to the “administration of justice.”

Second, even if the Court concludes that the offense conduct does pertain to the

administration of justice the double, or in this case, triple counting of the same offensive

characteristics is duplicative. And results in a sentencing recommendation greater than

necessary to punish the conduct resulting in a conviction.

         The defendant was convicted of charges in relation to interference with an official

proceeding, to wit, the counting of electoral votes by Congress. The PSR treats “official

proceeding” as synonymous with “administration of justice.” Nothing in either the plain

meaning of the Guidelines or the Application Notes supports this reading. The definition

of “substantial interference with the administration of justice” “Includes a premature or




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improper termination of a felony investigation; an indictment, verdict, or any judicial

determination based upon perjury, false testimony, or other false evidence; or the

unnecessary expenditure of substantial governmental or court resources.” These

activities do not resemble the counting of electoral votes in a joint session of Congress.

       The defendant was not convicted of a crime involving interference with a judicial

proceeding, or any other proceeding involving the criminal justice system. He was

convicted of obstructing an official proceeding, in this case a session of Congress.

Nothing in the Application Note or the USSG suggests that the drafters of the Guidelines

contemplated that official proceedings and the administration of justice are identical. As

such, each of the three enhancements are improper.

       Both PSRs call for an 8-point enhancement obstruction of justice arising under

USSG 2J1.2(b)(1)(B). The provision calls for an 8-point enhancement “if the offense

involved causing or threatening to cause physical injury to a person, or property

damage, in order to obstruct the administration of justice.” The facts supporting this in

the PSR involve the storming of barricades surrounding the Capitol, the potential for

injury to officers and the destruction of a fence. These violent events must have taken

place “In order to obstruct the administration of justice.” The PSR is devoid of any

suggestion that a court proceeding, a criminal investigation or any judicial determination

was affected; neither is there a claim the extra resources of expenditures were incurred

to achieve the administration of justice. The certification process is certainly an official

proceeding; it is not a proceeding involved in the administration of justice as

contemplated by the Application Note. The defendants therefore objects to the eight-

point enhancement.




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       Both PSRs call for a three-point enhancement arising under USSG Section

2J1.2(b)(2). The defendants rely on the arguments made regarding the eight-point

enhancement here.

       Both PSRs also call for a two-point enhancement arising under USSG

2J1.2(b)(3), which calls for a two-point enhancement if an offense “was otherwise

extensive in scope, planning, or preparation.” First, as argued earlier, the offense here

did not involve the administration of justice. But even if it did the defendant’s role in the

offense is an independent factor for which points have already been assessed as

regards leadership role. Mr. Biggs does not challenge the four-point enhancement for

his role as organizer of an “activity that involved five or more participants and was

otherwise extensive in scope.” He contends that the four-point enhancement is

sufficient, but not greater than necessary, to capture the conduct supporting his

conviction of the offense. Similarly, Mr. Rehl does not challenge his three-point role

enhancement.

       Mssrs. Biggs and Rehl contend that the analysis in United States v. Seefried,

2022 U.S.Dist. LEXIS 196980 (2022) got it right: an “official proceeding” is not

“administration of justice.” As such, the 13-points of enhancements are inapplicable.

United States v. Seefried, 2022 U.S.Dist. LEXIS 196980, *32 (2022)(holding that the

these enhancements are not appropriate in that “administration of justice” and an

“official proceeding” are not synonyms. “This Court acknowledges that this is a close

interpretative call. If the Sentencing Commission had foreseen the Capitol breach, it

may well have included “official proceeding” in the test of Section 2J1.2. But the

Commission did not. Given that courts should interpret the Guidelines using traditional




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tools of statutory interpretation, this Court declines to rewrite section 2J1.2 to say what it

does not.” Id. But see, United States v. Wright, 2023 U.S.Dist. LEXIS 372270 (2023)

and and, United States v. Bozell, 2022 U.S. Dist.LEXIS 28075 (2002) holding to the

contrary. The defendants contend that insofar as an appropriate sentence should be

sufficient to punish an offense, but no greater than necessary, it would be improper

effectively to an engage in a judicial rewrite to impose a greater sentence than the plain

language of the Guidelines require.

              2. The Violence in this Case is Overstated Given the Counts of
                 Conviction, the Acquittal, and the Jury’s Inability to Convict Either
                 Defendant of Assault; Pinkerton Liability and the Use of a Novel
                 “Tools” Theory in this Case Ought Not to Result in an
                 Overstatement of the Seriousness of the Crimes

       As noted above, the counts of conviction, acquittal and dismissal are identical for

both Mssrs. Rehl and Biggs. Neither man was convicted of a count involving assault of

a federal officer. Indeed, both men were acquitted of one count of such conduct, with

the jury unable to reach a verdict on a second count. Such nexus as the man have to

violence in this case comes of a tenuous application of an unusual application of

conspiratorial liability, Pinkerton v. United States, 328 U.S. 1946, as magnified by

unprecedented reliance of a “tools” theory. The result is an overstatement of the

violence for which each defendant is liable.

       The defendants are mindful that sentencing courts have considered acquitted

offense conduct in imposition of a sentence. But the concerns raised in an opinion by

three Justices of the Supreme Court in the denial of a petition for certiorari involving

acquitted offense conduct are powerful. “The Court’s denial of certiorari today should

not be misinterpreted. The Sentencing Commission, which is responsible for the




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Sentencing Guidelines, has announced that it will resolve questions about acquitted-

conduct sentencing in the coming year. If the Commission does not act expeditiously or

chooses not to act, however, this Court may need to take up the constitutional issues

presented.” McClinton v. United States, 143 S.Ct. 2400, 2023 U.S.LEXIS 2796, *4-5

(2023). The defendants herein preserve their objection to any consideration of acquitted

offense conduct.

       In this case, holding the defendants responsible for the violence of others in this

case would be particularly egregious. First, the defendants were themselves acquitted

of any acts of violence. Second, the jury was instructed that they could be held liable

vicariously for the violent acts of others, and the jury still rejected the Government’s

claims. Third, to the extent the conspiracy to use force in the sedition charge was

proven to the jury’s satisfaction by use of the tools theory, it simply strains reason to

contend that the defendants are not guilty of conspiring to use force but are guilty by

association for the acts of “tools” who did use force, but who were not part of the

conspiracy. In the context of a dynamically evolving riot, as the events of January 6,

2021 turned out to be, it impossible to parse lines of causation in the presence of

interlocking conspiracies and independent actors. Are the defendants guilty for the

“toolish” behavior of independent parties who were also inspired by the acts of others,

such as the Oath Keepers, or who were simply overcome by the mob-like mentality that

obtained as events spiraled out of control?3




3
 The defendants are not advancing a claim that there was no violence at the Capitol on
January 6, 2021. Anyone familiar with the actual evidence in the cases knows there
were violent incidents at the riot. The claim here is limited to contending that the
defendants’ role in causing that violence is overstated.

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              3. The Speech Used to Convict the Defendants was Vitriolic, but not
                 Uncommon in Our Deeply Divided Times; A Significant Sentence
                 Would Appear to Punish Hyperbole – By That Standard Few Folks
                 Who Follow Politics and Care About the Outcome of Elections
                 Would be Spared Prosecution

       If the Court is reading this memorandum, it has denied the defendants’ Rule 29

Motion for a Judgment of Acquittal. The defendants will not repeat the arguments made

in that pleading, but assert that given the nature of the proof in this case -- vitriolic, but

protected, speech read through the prism of a riot -- there is a danger this case will

henceforth stand for the proposition that mere abstract calls for violence at some future

date are now prohibited. While Courts know better, the public will not. Draconian

sentences in this case will deepen divisions in this country at a time when the need to

build bridges is acute.

   B. Characteristics Unique to Mr. Biggs and Mr. Rehl

       Both Mr. Biggs and Mr. Rehl were assessed two points for obstruction of justice

Section 3C1.1.

       In Mr. Biggs’ case, the points were added because he misled federal

investigators, first by initially denying that he was at the Capitol at all on January 6,

2021, and, then, after he called the FBI back, minimizing his role and knowledge of

others at the Capitol. Mr. Biggs did not testify at trial. (Biggs PSR, para. 124).

       Mr. Rehl was assessed two points for different conduct, to wit: encouraging fellow

members of the Proud Boys to erase electronic data after the arrest of Enrique Tarrio on

January 4, 2021, in Washington, D.C.,; and, for offering false testimony at trial about




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whether he had assaulted a police officer at the Capitol on January 6, 2021. (Rehl PSR,

para. 122).4

       The application of the enhancement in this case transforms it into a blunt

instrument, this, by sharp contrast, to the more nuanced account of leadership roles

where in Mr. Biggs was assessed four points for being a leader, but Mr. Rehl was

assessed one fewer point for a lesser, managerial, role. Surely, there is a difference

between denying culpability in an initial interview – something one of the Government’s

principal witnesses, Jeremy Bertino did repeatedly – and other forms of obstruction.

               1.   Mr. Biggs

       Mr. Biggs contends the two-point enhancement applied in this case overstates

the seriousness of his conduct. Even if he did not spontaneously confess when

questioned, and even if he minimized his role when he confessed, these are routine

occurrences in law enforcement interviews of subjects and persons of interest. It is one

of the reasons federal agents often are required to conduct multiple proffers with

important witnesses. Mr. Biggs asks the Court to disregard the two-point enhancement

in his case.

               2.   Mr. Rehl

       Mr. Rehl is assessed two points for obstruction for engaging two forms of

obstructive conduct – encouraging the potential destruction of evidence, and being



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 A thought experiment: There are three forms of obstructive conduct in this case: the
initial lack of candor to investigators; counseling destruction of potential evidence; and
being untruthful in trial testimony. Are the three equivalent? Suppose a defendant were
assessed the two points solely for counseling destruction of potential evidence, would
that defendant, too, be assessed the same two points? Each defendant conduct is to
be assessed on its own merits in light of the evidence and the guidelines. But where the
guidelines fail to calibrate conduct to culpability the results are seemingly arbitrary .

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untruthful while testifying. He contends that his enhancement is also overstated. Mr.

Rehl denied assaulting a law enforcement officer when showed a video image of a man

who may well be him spraying an irritant in the direction of the officers. Whether a

layperson would understand that to be assault is, perhaps, an open question; in any

case, the context makes clear that the spraying was an isolated event, but took place in

a rapidly evolving, and deteriorating, confrontation between officers and rioters.

          C.     An Appropriate Sentence in this Case

               1. Specific Deterrence – loss of military pension

       Specific deterrence is directed at the offender. What level of punishment is

sufficient, but not greater than necessary, to deter the defendant from engaging in similar

misconduct. The unprecedented nature of these prosecutions, and the fact that the

defendants, while presumed innocent, were held in pre-trial detention involving solitary

confinement for more well over two years by the time sentence imposed suggests that he

has been taught that such misconduct is regarded as intolerable by the Government.

They have already paid a steep and heavy price as a result of this incarceration. During

a significant period of his confinement, they were held in solitary confinement, and were

deprived of the ability to do the thing they wanted most to do: be a loving, stable and

consistent presence in the life of their young children. Compound these facts with the

significant punishment in the form of the loss of the disability pension they earned in

service to his country, and there can be but little doubt that they have been deterred.

               2. General Deterrence -- unprecedented scope of prosecutions

       General deterrence pertains to the effect the sentence imposed in this case will

have on others. Put another way, will this sentence promote respect for the law.




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       This case should not be considered in isolation from the hundreds of other

prosecutions – more than 1,000 to date – undertaken by the Justice Department of those

identified as participants in the riot on January 6, 2021. Indeed, hardly a week passes

without some new arrest as federal officials continue to study available video evidence to

identify each and every person who violated to the law at the Capitol that day. More than

two-and-one-half years have passed since the riot, yet dogged prosecutors continue to

bring new cases. One would have to be deaf, dumb and blind not to realize that insofar

as the federal Government is concerned, the events of January 6, 2021 are regarded as

an intolerable insult to our institutions. The Government has made clear that the disruption

of official proceedings in this manner will not be tolerated ever again. The magnitude and

scope of January 6 prosecutions vitiates the general deterrent value of a long sentence

in this particular case. Indeed, too long a sentence will undermine the very factor – respect

for the law – critical to general deterrence.

              3. Punishment

       Whether the defendants should have been confined prior to trial was litigated

thoroughly prior to trial. The defendants do not seek to reargue that here. They do request

that the Court take note of the fact that their confinement was extraordinary. Each man

was held for a significant period in solitary confinement, spending up to 22 hours per day

in a cell isolated from contact with others. While they get credit for time served as to their

ultimate sentence, they request that the Court consider the harshness of their detention

while cloaked in the presumption of innocence as a factor in fashioning an appropriate

sentence.




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         The loss of military pensions gained as a result of injuries suffered in service of the

country is particularly galling. Even if this Court were to reject every other argument made

in this memorandum, there is certainly something unseemly about the United States

enjoying the benefit of a man’s youth and health, and then turning on him in vengeance

when he errs later in life.

                4. Rehabilitation

         There is no apparent need for rehabilitative services in Mr. Biggs’ case; he is a

hardy survivor who has already overcome substantial obstacles and will likely do so

again.

         Mr. Rehl’s eligibility for the RDAP program suggests a need for rehabilitation and

the Court is urged to order his admission into that program.

                5. Unwarranted Sentencing Disparities

`        The events of January 6, 2021, were extraordinary. Indeed, well after scores of

ordinary citizens were indicted, prosecuted and convicted, federal and state officials

have now indicted the former president of the United States and charged him with a role

in the events of that day. In Georgia, a state prosecutor has charged the former

president and 18 others with being a member of a criminal enterprise as regard their

efforts to subvert the results of the November 2020 election. It appears as though those

with the most to gain from any disruption of the counting of electoral ballots on January

6, 2021 were among the last to be prosecuted, based on events thus far.

         But the leadership of two groups – the Oath Keepers and the Proud Boys – have

been prosecuted and convicted. And leaders of both groups have been charged with

conspiracy to engage in seditious conspiracy, to wit, using force to oppose the authority




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of the federal government, and conspiracy to engage in other offenses. There is a world

of difference in the efforts of the Oath Keepers and those of the Proud Boys.

       The Oath Keepers resembled a paramilitary organization with membership open

primarily to former law enforcement and military members. They trained for the event of

January 6, going so far as to store weapons across the Potomac River from the Capitol

on January 6. Arrangements had been made to have the arms transported across the

river to the Capitol upon a call from leadership of the Oath Keepers. That call never

came, but the jury convicting the Oath Keepers were undoubtedly moved by this

evidence. It appears that a group came to Washington, D.C. prepared to use potentially

lethal force on command. They had the manner and means to do so. That they did not

is the result of a simple order not being given.

       The Proud Boys, by contrast, started as drinking club and evolved into a political

organization, largely, it seems, after former President Trump mentioned them in a

presidential debate in the fall of 2020. The jury accepted the Government’s position that

members of the club engaged in more than defensive violence in its confrontations with

a rival political group – antifa. Yet even so, there was no evidence of military training or

sophisticated weaponry on hand and available at a moment’s notice. There is no

evidence to support the contention that the Proud Boys acted in concert with any other

group, including the Oath Keepers, or that their activities were directed by others. The

jury concluded that they conspired to use force against the authority of the federal

government and to obstruct an official proceeding. Both are felonies, yet neither




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amounted to out-and-out rebellion5 or the functional equivalent of a declaration of war

against the United States. (Biggs PSR, para. 109; Rehl PSR, para. 106). One incident

of warfare, obviously, is arming oneself; the Oath Keepers did, and in a serious way; the

Proud Boys equipped themselves for street brawling. There is a difference and the

sentences in this case should reflect that difference.

   VII.     Conclusion

       The defendants request non-Guidelines sentences in this case. Certainly, they

committed crimes; a jury has spoken, although the appellate process has yet to run its

course. We will never know what would have happened if the Government had charged

modest crimes for a disturbance that lasted for several hours one day in January

2021—the defendants may well have pleaded guilty to trespass, disorderly conduct, and

other offenses. They could well have served their time and returned home by now.

       Instead, the Government claimed the republic was in jeopardy and seeks to treat

these misguided patriots as terrorists. This is grievously wrong. The defendants ask the

Court to do heed what the Government cannot see, or will not acknowledge: We are a

nation borne in dissent; our politics has often been raw and raucous. The challenge in

divided times is not to divide and conquer, but to build bridges between people who love

this country, sometimes in shockingly different ways. At a time when Congress

investigates whether and how the Justice Department has been weaponized, the




5 A useful and illuminating discussion of the difference between sedition and rebellion

can be found in a recent law review article on the scope of the disqualification clause of
section 3 of the Fourteenth Amendment. William Baude and Michael Stokes Paulsen,
The Sweep and Force of Section Three, 172 U. Pa. L. Rev. (forthcoming 20240, pp. 84-
86. (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4532751, last accessed
August 17, 2023)

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defendants ask the Court to enforce a ceasefire and to impose reasonable, and just,

sentences. If time-served is too much for which to ask, the defendants request a

sentence that will permit them to return home to their loved ones in the very near future.

They have served enough time.

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                             CERTIFICATION OF SERVICE

        The undersigned hereby certifies that, on the above-captioned date, a copy of

 the foregoing was filed electronically and served by mail on anyone unable to accept

 electronic filing. Notice of this filing will be sent by email to all parties of record by

 operation of the Court’s electronic filing system or by mail to anyone unable to accept

 electronic filing. Parties may access this filing through the Court’s system.

                                                         /s/ Norm Pattis /s/




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